                       Case 3:17-bk-02469-PMG              Doc 27   Filed 10/25/17       Page 1 of 2
Form B18 (Official Form 18)(12/07)

                                      United States Bankruptcy Court
                                                Middle District of Florida
                                              Case No. 3:17−bk−02469−PMG
                                                        Chapter 7

In re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
    Natashia T. Swindler
    10846 Naples Ct. S.
    Jacksonville, FL 32218
Social Security No.:
   xxx−xx−4419
Employer's Tax I.D. No.:



                                             DISCHARGE OF DEBTOR

It appearing that the debtor is entitled to a discharge,

IT IS ORDERED:

The debtor is granted a discharge under section 727 of title 11, United States Code, (the Bankruptcy Code).




                                                 ____________________________________________
                                                 Paul M. Glenn
         Dated: October 25, 2017                 United States Bankruptcy Judge



                       SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.
                        Case 3:17-bk-02469-PMG                      Doc 27         Filed 10/25/17         Page 2 of 2
FORM B18 continued (12/07)


                                        EXPLANATION OF BANKRUPTCY DISCHARGE
                                                 IN A CHAPTER 7 CASE

      This court order grants a discharge to the person named as the debtor. It is not a dismissal of the case and it does
not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

       The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For example, a
creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach wages or
other property, or to take any other action to collect a discharged debt from the debtor. [In a case involving community
property: There are also special rules that protect certain community property owned by the debtor's spouse, even if that
spouse did not file a bankruptcy case.] A creditor who violates this order can be required to pay damages and attorney's
fees to the debtor.

      However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against the
debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a debtor
may voluntarily pay any debt that has been discharged.

Debts That are Discharged

       The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but not
all, types of debts are discharged if the debt existed on the date the bankruptcy case was filed. (If this case was begun
under a different chapter of the Bankruptcy Code and converted to chapter 7 , the discharge applies to debts owed when
the bankruptcy case was converted.)

Debts that are Not Discharged.

     Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

     a. Debts for most taxes;

     b. Debts incurred to pay nondischargeable taxes;

     c. Debts that are domestic support obligations;

     d. Debts for most student loans;

     e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

     f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft while intoxicated;

     g. Some debts which were not properly listed by the debtor;

     h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are not discharged;

     i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in compliance with the
     Bankruptcy Code requirements for reaffirmation of debts; and

     j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift Savings Plan for federal employees for
     certain types of loans from these plans.




      This information is only a general summary of the bankruptcy discharge. There are exceptions to these
general rules. Because the law is complicated, you may want to consult an attorney to determine the exact effect of
the discharge in this case.
